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Thomas K. Coan, OSB #891732
Attorney at Law
1001 SW Fifth Avenue, Suite 1400
Portland, Oregon 97204
tom@tomcoan.com

Richard L. Wolf, OSB #873719
Attorney at Law
12940 NW Marina Way
Portland, OR 97231
(503) 384-0910
richardlwolf@att.net

Attorneys for Defendant Erickson


               IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF OREGON
UNITED STATES OF AMERICA,             )
                                      )   Case No. 3:18-cr-00319-MO-6
      Plaintiff,                      )
                                      )   UNOPPOSED MOTION FOR AN
      vs.                             )
                                      )   ORDER AUTHORIZING
                                      )   DEFENSE COUNSEL TO FILE A
CHAD LEROY ERICKSON,                  )
                                      )   DECLARATION IN SUPPORT OF
      Defendant.                      )   DEFENDANT ERICKSON’S
                                      )   MOTION TO CONTINUE TRIAL
                                      )
                                      )   DATE EX PARTE AND UNDER
                                      )   SEAL



      COMES NOW Defendant, Chad Leroy Erickson, by and through his CJA-

appointed attorneys, Thomas K. Coan and Richard L. Wolf, and hereby moves this


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COUNSEL TO FILE A DECLARATION IN SUPPORT OF DEFENDANT
ERICKSON’S MOTION TO CONTINUE TRIAL DATE EX PARTE AND UNDER
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court for an Order, authorizing Defendant Erickson’s counsel to file any

Declarations in support of his Motion to Continue the current trial date ex parte and

under seal. Counsel for Defendant Erickson is drafting and intends to file such

Motion by January 23, 2020.

      Counsel for Defendant Erickson so move because any such Declaration will

necessarily reveal confidential and/or otherwise privileged information regarding

both the defendant and the work product of defense counsel in preparation of the

defense case to date.

      I have spoken with AUSA Leah Bolstad and informed her of our intention

to seek such an Order and she has no objection thereto.

      Respectfully submitted this 22nd day of January 2020.




                                        s/ Richard L. Wolf
                                       Richard L. Wolf, OSB #873719
                                       Attorney for Defendant Erickson




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